                       Case 2:02-cr-00079-KJM Document 150 Filed 08/23/05 Page 1 of 1


               1    MATTHEW G. JACOBS (Bar No. 122066)
                    JEAN M. HOBLER (Bar No. 214106)
               2    DLA PIPER RUDNICK GRAY CARY US LLP
                    400 Capitol Mall, Suite 2400
               3    Sacramento, CA 95814-4428
                    Tel: 916.930.3200
               4    Fax: 916.930.3201

               5    Attorneys for Defendant
                    WESLEY SINE
               6

               7

               8                                  UNITED STATES DISTRICT COURT
               9                                  EASTERN DISTRICT OF CALIFORNIA
             10
                    UNITED STATES OF AMERICA,                        CASE NO. S-02-0079-FCD
             11
                                    Plaintiff,                       ORDER RELIEVING COUNSEL OF
             12                                                      RECORD FOR DEFENDANT WESLEY
                             v.                                      SINE
             13
                    DARRA N. PANTHAKY and WESLEY
             14     SINE,
             15                     Defendants.
             16

             17              Good cause appearing therefore, it is now ordered that Matthew G. Jacobs, Jean M.

             18     Hobler, and DLA Piper Rudnick Gray Cary US LLP are hereby relieved as counsel of record for

             19     defendant Wesley Sine.

             20     IT IS SO ORDERED.

             21     Dated: August 22, 2005                       /s/ Frank C. Damrell Jr.
                                                                 HONORABLE FRANK C. DAMRELL, JR.
             22                                                  UNITED STATES DISTRICT JUDGE
             23

             24

             25

             26

             27

             28
                                                                    -1-
DLA PIPER RUDNICK   SA\8056435.2
GRAY CARY US LLP    358279-1
